CaSe 2:04-cr-20062-SH|\/| Document 45 Filed 06/10/05 Page 1 015 Page|D 40

UNiTED STATES DlSTFl|CT COURT FH_ED w
WESTERN D|STR|CT OF TENNESSEE “" %\ D.C.
MEN|PH|S DIV|SION 55 JUM m pH ! 143
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-v- 04-20062-01-|\1|11W 9 OF~‘ 111 1111:111111111_1';

IV|AR|O IV|EANS
Apri| R. Goode, FPD
Defense Attorney
200 Jefferson Avenue, Suite 200
Nlemphis, Tennessee 38103

 

*A*M*E*N*D*E*D* JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guiity to Count 1 of the indictment on Apri| 30, 2004. According|y,
the court has adjudicated that the defendant is guilty of the following offense(s):

 

Date Offense Count
Tit|e 81 Section M Conc|uded Number(s)
18 U.S.C. § 922(9) Fe|on in possession of a firearm 08/05/2003 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Fieform Act of 1984 and the N|andatory
Victims Restitution Act of 1996.

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change 01 name, residence, or mailing address until a||
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 09/26/1979 August 26, 2004
Deft’sU.S. Marsha| No.: 19519-076 Fie-Sentencing Date:

June 10, 2005
Defendant’s Fiesidence Address:
814 Archie Street
|Vlemphis, TN 38127

_jA</»»L_

SAMUEL H. |V|AYS, JFi.
UN|TED STATES D|STR|CT JUDGE

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June , 2005

This dochent entered on the docket sheet in co pliance
with H.cle 55 and/or 3211;1) FFtCrP on l ¢" 121_0___“ 5

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Case No: 04-20062-01-Ma
Defendant Name: Niario |V|eans Page 2 of 4

lNlPRlSON|V|ENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of forty-six (46) months.

The defendant is remanded to the custody of the United States Marsha|.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at . with a certified copy of this
judgment.
UN|TED STATES |V|AFiSHAL
By:

 

Deputy U.S. N|arshal

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Case No: 04-20062-01-Ma
Defendant Narne: Mario lVleans Page 3 of 4

SUPERVISED FlELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of ** two (2) years **.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shaft not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substancel The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S\ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shail not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substanoe;

7. The defendant shail not frequent pieces where controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Case No: 04-20062-01-Ma
Defendant Name: l\/lario ivleans Page 4 of 4

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement.

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Nlonetary Penalties sheet of this judgment

ADD|TIONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised release:

14. The defendant shall participate as directed in a program (outpatient and/or inpatient) approved by
the Probation Officer for treatment of narcotic addiction or drug or alcohol dependency which may
include testing forthe detection of substance use or abuse. Further, the defendant shall be required
to contribute to the costs of services for such treatment not to exceed an amount determined
reasonable by the Probation Officer.

15. The defendant shall seek and maintain lawful full-time employment.

16. The defendant shall obtain his General Educational Development (G.E.D.) Diploma.

CR|N||NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment pursuant to 18 U.S.C. § 3612(f). All of the payment
options in the Schedule of Payments may be subject to penalties for default and delinquency
pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Ftestitution
$100.00

The Special Assessment shall be due immediately

FlNE

No fine imposed.

REST|TUT|ON

No Ftestitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 45 in
case 2:04-CR-20062 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

Fed. Public Defender

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Memphis7 TN 38103

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April Rcse Goode

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

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chorable Samuel Mays
US DISTRICT COURT

